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                       IN THE UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF ILLINOIS


 In the matter of:

 STELLA SHAMOUN,

                       Plaintiff,
                                                        Case Number: 18-cv-4975
 v.

 NILES TOWNSHIP HIGH SCHOOL
 DISTRICT 219,

                       Defendant.


                                COMPLAINT AND JURY DEMAND

         NOW COMES Plaintiff STELLA SHAMOUN (hereinafter “Plaintiff”), by and through

her attorney, Christina Abraham, complaining of Defendant NILES TOWNSHIP HIGH SCHOOL

DISTRICT 219 (hereinafter “Defendant”) for violations of Title VII of the Civil Rights Act of

1964 as amended by the Pregnancy Discrimination Act of 1978. In support of her claim, Plaintiff

states as follows:

                                        Jurisdiction and Venue

         1.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this is a civil action

      arising under the Constitution, laws, or treaties of the United States. This is a civil action

      brought under Title VII of the Civil Rights Act of 1964 as amended by the Pregnancy

      Discrimination Act of 1978.        On May 29, 2018, the Equal Employment Opportunity

      Commission (EEOC) issued to Plaintiff a Notice of Right to Sue.

         2.      Venue is proper under 28 U.S.C. § 1391(b), as Defendant operates in this judicial

      district and the events giving rise to the claims in this Complaint occurred in this district.




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                                           Parties

   3.        Plaintiff Stella Shamoun is a pregnant female and former employee of Defendant.

Plaintiff was hired as a Purchasing Coordinator on July 3, 2017 and worked at Defendant’s

main office.

   4.        Defendant Niles Township High School District 219 is a public school district

operating in Cook County, Illinois.

                                        Factual Allegations

   5.        Plaintiff is female.

   6.        Plaintiff was hired as a Purchasing Coordinator at Defendant on July 3, 2017. As

Purchasing Coordinator, Plaintiff was responsible for assisting the Staff Accounting with

performing procurement functions for Defendant.

   7.        Plaintiff reported directly to Ms. Whitney Draegert, Director of Business Services,

although the job description posted by Defendant indicated that she would have been reporting

to the Staff Accountant.

   8.        On November 3, 2017, Ms. Draegert performed an evaluation of Plaintiff, in which

she noted that Plaintiff performed “excellent[ly]” and “proficient[ly]” for most areas. The

evaluation only noted that Plaintiff needed improvement under the area of “knowledge and

skills”, stating further: “As this is [Plaintiff]’s first position with a School District she is

learning the policies, procedures and facts relevant to the job. She is also learning how a school

district operates.” Ms. Draegert then extended Plaintiff’s probation period for another ninety

(90) days.




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   9.        Upon information and belief, it is the policy of Defendant to calculate probation

periods by working days, as opposed to calendar days. This would have placed the end of

Plaintiff’s probation period at March 19, 2018.

   10.       On or about January 9, 2018, Plaintiff verbally informed Ms. Draegert that she was

five (5) weeks pregnant.

   11.       Following this, Plaintiff requested some adjustments to her schedule (but that

would result in her working the same amount of hours) on certain days in order to attend

doctor’s appointments. Plaintiff typically notified Ms. Draegert of absences from the office

via email.

   12.       On February 6, 2018, at approximately 2:40 p.m., Plaintiff was told to appear for a

meeting with Ms. Draegert. She was not immediately told of the reason for this meeting, but

was later told that Dr. Edmund Murphy, Assistant Superintendent of Human Resources, would

be at the meeting, and that the meeting pertained to her review.

   13.       Upon arriving to the meeting, Plaintiff was given an impromptu “informal

observation”. This “informal observation” occurred prior to the expiration of the additional

90-day probation period she had been placed on in November. Following this “informal

observation”, Plaintiff was told that the administration was recommending her termination

from Defendant, effective February 13, 2018. She was suspended without pay until the date

the Board would finalize the action.

   14.       The stated reasons for Plaintiff’s termination are incorporated in a memo that was

given to her by Dr. Murphy and Ms. Draegert on February 6, 2018.

   15.       On February 6, 2018, Plaintiff provided a written response to the Board addressing

the stated reasons for her termination. Plaintiff noted that some of the instances referred to in




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her termination memo not only were inaccurate, but also preceded her November 2017

evaluation and had not been raised at that time. Plaintiff notified the Board that she believed

the true reason for her termination was because she had notified Ms. Draegert that she was

pregnant.

   16.      On February 13, 2018, the Board of Directors of Defendant made a final

determination and terminated Plaintiff.

   17.      On April 12, 2018, Plaintiff filed a charge of discrimination with the EEOC, which

was perfected on May 9, 2018.

   18.      On May 29, 2018, the EEOC issued Plaintiff a Notice of Right to Sue. Attached as

Exhibit A is the Notice of Right to Sue and filed EEOC charge.

   19.      As a result of her termination, Plaintiff has suffered damages that include, but are

not limited to, loss of income, loss of healthcare (at a critical time in her life), and other

pecuniary and emotional damages.

                          Count I – Pregnancy Discrimination

   20.      Plaintiff reasserts and realleges all previous paragraphs as if fully incorporated

herein.

   21.      Defendant unlawfully discriminated against Plaintiff when, shortly after learning

she was pregnant, it terminated her. Moreover, Defendant’s reasons for terminating Plaintiff

are pretext, as some of the grounds were false, and others had not been raised during Plaintiff’s

first evaluation. Additionally, Defendant subjected Plaintiff to disparate terms and conditions

of employment in the manner and frequency that it conducted evaluations of her, which

ultimately led to her termination.




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       22.      Consequently, Defendant violated Title VII of the Civil Rights Act of 1964, as

   amended by the Pregnancy Discrimination Act of 1978.

                                  Conclusion and Prayer for Relief

       WHEREFORE, Plaintiff STELLA SHAMOUN respectfully requests that this Honorable

   Court enter judgment in her favor and against Defendant NILES TOWNSHIP HIGH SCHOOL

   DISTRICT 219, awarding:

   a. Actual damages;

   b. Compensatory damages;

   c. Punitive damages;

   d. Costs;

   e. Attorney’s fees; and

   f. Such other relief as the Court deems just and equitable.




                                            Respectfully submitted,
                                            STELLA SHAMOUN
                                            Plaintiff

                                            _____/s/Christina Abraham_______
                                      By:   Christina Abraham
                                            Attorney for Plaintiff


July 20, 2018

Attorney No. 6298946
Christina Abraham, Esq.
Attorney for Plaintiff
161 N. Clark Street, Suite 1600
312-588-7150




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